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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York

 ICR/AFM/KCB                                          271 Cadman Plaza East
 F. #2018R01047                                       Brooklyn, New York 11201



                                                      January 27, 2022


 By Email and ECF

 Samuel M. Braverman
 Albert Y. Dayan
 Kenneth J. Kaplan
 John S. Wallenstein
 Richard D. Willstatter

                 Re:   United States v. Jack Cabasso, et al.
                       Criminal Docket No. 19-CR-582 (DRH)

 Dear Counsel:

                The government has made available a further production of discovery in
 accordance with Rule 16 of the Federal Rules of Criminal Procedure. This production
 supplements the disclosures of Rule 16 discovery produced to individual defendants on January
 14, 2020, and November 18, 2020, and to all defendants on June 24, 2020, July 2, 2020, July 10,
 2020, July 31, 2020, September 17, 2020, October 16, 2020, November 24, 2020, December 17,
 2020, February 11, 2021, February 19, 2021, July 9, 2021, July 23, 2021, August 17, 2021 and
 November 3, 2021. The government renews its request for reciprocal discovery from the
 defendants.

                The materials produced today are subject to the protective order entered in this
 case on May 29, 2020. They consist of extractions of electronic devices seized by the
 government, 1 contracts between Aventura and the government, and photographs of seized
 Aventura products.

                 1. Extractions of Mobile Electronic Devices

               Each extraction of a mobile electronic device in today’s production is identified
 below by reference to its “1B” number (a unique identifier assigned by the FBI), as well as the


        1
          The mobile device extractions are being produced to all defendants with the parties’
 prior consent.
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 location where it was seized, the description from the relevant manifest (with identifying
 numbers partially redacted), and the Bates number assigned for discovery purposes.

         Seizing          Seizing                                            Bates Number
                                         Description
  Item # Address          Location

                          Person         Apple I Phone
           Cabasso
  1B1                     (Jack          MODEL NUMBER : A1965                AVT_MEDIA_034
           Residence
                          Cabasso)       SERIAL NUMBER : **0075
                                         PINK I-PAD WITH BLACK
           Cabasso
                          Room T         CASE, MODEL A1674, S/N              AVT_MEDIA_035
  1B8      Residence
                                         **QH259

           Cabasso                       IPHONE WHITE, MODEL
  1B30                    Room T                                             AVT_MEDIA_036
           Residence                     A1533, IMEI # **500411
                                         SILVER I-PAD IN SILVER
           Cabasso
  1B31                    Room T         BLACK CASE, MODEL                   AVT_MEDIA_037
           Residence
                                         A1709, S/N: **02HPDV
                                         WHITE/SILVER IPHONE,
           Cabasso
  1B32                    Room T         MODEL: A1549, IMEI:                 AVT_MEDIA_038
           Residence
                                         **61973
                                         ONE CELLOPHANE
           Cabasso                       CONTAINING:
  1B36                    Room G                                             AVT_MEDIA_039
           Residence                     (1) I-PAD, MODEL A1475,
                                         S/N: **WF4J
                                         IPHONE WITH CLEAR
           Cabasso
  1B45                    Room E         PLASTIC CASE, IMEI #:               AVT_MEDIA_040
           Residence
                                         **TPJCL7

                 This material has been placed on USAfx, the government’s online file sharing
 platform. It is also available at Dupe Coop, where it can be obtained by requesting Production
 13.
                More information about each device is available in the government’s production
 of October 16, 2020; in particular, on that date, a schematic showing letter designations for
 various spaces within the Cabasso Residence was produced as AVENTURA_0000080524-
 AVENTURA_0000080526.
                2. Contracts

                The government has previously produced in discovery approximately 71 contracts
 and task orders between Aventura and U.S. government agencies. Under cover of this letter, the
 government is producing via USAfx approximately 33 more contracts and task orders, Bates
 numbered AVENTURA_0000094831 - AVENTURA_0000095396. These items are designated
 Sensitive Discovery Material pursuant to the protective order in this case.


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                 The government is also producing via USAfx a spreadsheet (Bates number
 AVENTURA_0000095397) that identifies each contract in the government’s possession and the
 corresponding Bates range under which each contract (and its associated files, if any) was
 produced to the defendants in discovery. This spreadsheet, which the government has created to
 assist defense counsel in reviewing the discovery, is subject to revision, and is also designated
 Sensitive Discovery Material.
                3. Seized Aventura Inventory
                A manifest of Aventura products seized during the execution of a search warrant
 at 48 Mall Drive is being produced via USAfx under Bates number AVENTURA_0000095445.
 Photographs of the cartons seized are also being produced via USAfx under Bates numbers
 AVENTURA_0000095398-AVENTURA_0000095444. You may inspect these items in person
 by arrangement with the government.
                4. Further Discovery
                The government expects to make a production of a large volume of electronically
 stored information identified through searches performed in response to various defense
 discovery requests and through further government review of the email in its possession. The
 government’s e-discovery facility has advised that it expects to complete the processing of this
 production on February 2, 2022, and the government will make the production to the defendants
 through Dupe Coop as soon as the government receives the production.
                5. Production of Complete Datasets
                 In addition, as the government advised you in its letter dated January 10, 2022
 (the “January 10 letter”), and with the remaining defendants’ consent, the government expects to
 provide to all of the remaining defendants copies of Jack Cabasso’s Skype and Hotmail accounts,
 as well as an image of 1B289, the Microsoft Exchange server seized from Aventura’s offices that
 contains the contents of numerous Aventura corporate email accounts used by its employees.
 The government also expects to make available the contents of the Aventura corporate email
 accounts that the government obtained from Rackspace and Microsoft, to the extent Aventura
 has not already shared its copy of this information.
                As we noted in the January 10 Letter, these copies include the complete data sets
 from which the government has obtained and produced electronically stored information
 discoverable under Rule 16 and other applicable law. Thus, the information being disclosed to
 you is broader than that which the government is required to produce to you under applicable
 law.
                 The government believes that these forthcoming productions of discovery will
 substantially complete the government’s productions of material discoverable under Rule 16 and
 applicable law. The government’s discovery obligations are continuing obligations, however,
 and the government will supplement its productions with additional disclosures if it identifies
 additional material discoverable under applicable law.



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                 Please do not hesitate to contact us with any questions or if you wish to discuss a
 resolution of this matter.


                                                       Very truly yours,

                                                       BREON PEACE
                                                       United States Attorney

                                               By:              /s/
                                                       Ian C. Richardson
                                                       Alexander Mindlin
                                                       Kayla Bensing
                                                       Assistant U.S. Attorneys
                                                       (718) 254-6299/6433/6279

 Enclosures

 cc:    Clerk of the Court (DRH) (by ECF) (without enclosures)




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